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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                Case No. 1:23-CR-047-MHC
   v.

   K RISTOPHER K NEUBUHLER


                NOTICE OF ENTRY OF APPEARANCE FOR
        RESTITUTION & CRIMINAL MONETARY PENALTY MATTERS

   Assistant United States Attorney, Vivieon K. Jones, herein files notice of her

appearance in the above-styled case, and respectfully requests that she be added

as attorney of record for the Plaintiff, United States of America, regarding matters

related to the collection of restitution and criminal monetary penalties.

                                      Respectfully submitted,


                                      R YAN K. B UCHANAN
                                      U NITED S TATES A TTORNEY

                                       /s/Vivieon K. Jones
                                      VIVIEON K. JONES
                                      A SSISTANT U NITED S TATES A TTORNEY
                                      Georgia Bar No. 143033
                                      600 United States Courthouse
                                      75 Ted Turner Drive, S.W.
                                      Atlanta, Georgia 30303
                                      (404) 581-6073
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                                      Emal: Vivieon.jones@usdoj.gov
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                          CERTIFICATE OF SERVICE

   This is to certify that on this day the foregoing Notice of Entry of Appearance,

was electronically filed with the United States District Court Clerk using the

CM/ECF system, which will automatically send email notification to the

attorney(s) of record.


This 31st day of January, 2024.

                                     /s/Viveon K. Jones
                                     VIVIEON K. JONES
                                     A SSISTANT U NITED S TATES A TTORNEY
                                     Georgia Bar No. 143033
                                     Email: Vivieon.jones@usdoj.gov
